   Case: 1:18-cv-03550 Document #: 85-1 Filed: 03/11/19 Page 1 of 4 PageID #:506




                         UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION



ELIZABETH AGUILERA, CRYSTAL                             Case No. 1:18-cv-03550
RUSSELL, TERESA DISALVO, EMMA
MENDOZA, and SHAUNTIQUEA FOSTON,                        Hon. Edmond E. Chang
individually and on behalf of themselves and
all others similarly situated.,
                                                   [PROPOSED] STIPULATED ORDER RE:
              Plaintiffs,                          EXTENDING THE BRIEFING
                                                   SCHEDULE
       vs.

NuWave, LLC,

              Defendant.



       The parties stipulate to the extension of the Court’s briefing schedule entered in Minute

Entry (ECF 75) on March 4, 2019, as listed below:

   1. On March 4, 2019, the Court entered a Minute Entry granting the agreed extension

       motion [Doc 75] on the ESI discovery – motion briefing schedule.

   2. The parties have continued meeting and conferring on the ESI process. The parties

       believe further meet and confer is in the best interests of the parties in resolving the

       current dispute.

   3. Currently, Plaintiffs’ opening brief is due on March 11, 2019.

   4. To facilitate the meet and confer process, the parties agree to a 10-day extension on the

       briefing schedule.

   5. Accordingly, Plaintiffs shall file their opening brief on ESI issues on March 21, 2019.

   6. Defendant shall file its responsive pleading on April 11, 2019.

   7. Plaintiffs shall file their reply brief on April 18, 2019.
   Case: 1:18-cv-03550 Document #: 85-1 Filed: 03/11/19 Page 2 of 4 PageID #:506




       This Stipulated Order may be modified by a Stipulated Order of the parties or by the

Court for good cause shown.

       IT IS SO STIPULATED, through Counsel of Record.

DATED: March 11, 2019
                                      /s/ Melissa S. Weiner
                                      Melissa S. Weiner, Esq.
                                      PEARSON, SIMON & WARSHAW, LLP
                                      800 LaSalle Avenue
                                      Suite 2150
                                      Minneapolis, MN 55402
                                      Telephone: (612) 389-0600
                                      Facsimile: (612) 389-0610



                                      /s/ Jeff Ostrow
                                      Jeff Ostrow, Esq.
                                      Jonathan M. Streisfeld, Esq.
                                      KOPELOWITZ OSTROW FERGUSON
                                      WEISELBERG GILBERT
                                      One W. Las Olas Blvd.
                                      Suite 500
                                      Fort Lauderdale, FL 33301
                                      Telephone: (954) 525-4100
                                      Facsimile: (954) 525-4300

                                      /s/ Hassan A. Zavareei
                                      Hassan A. Zavareei, Esq.
                                      TYCKO & ZAVAREEI LLP
                                      1828 L Street, NW
                                      Suite 1000
                                      Washington, DC 20036
                                      Telephone: (202) 973-0900
                                      Facsimile: (202) 973-0950




                                             2
           [PROPOSED] STIPULATED ORDER RE: EXTENDING THE BRIEFING SCHEDULE
  Case: 1:18-cv-03550 Document #: 85-1 Filed: 03/11/19 Page 3 of 4 PageID #:506




                                  /s/ Douglas A. Millen
                                  Douglas A. Millen, Esq.
                                  Robert J Wozniak, Esq.
                                  Brian M Hogan, Esq.
                                  FREED KANNER LONDON & MILLEN LLC
                                  2201 Waukegan Road
                                  Suite 130
                                  Bannockburn, IL 60015
                                  Telephone: (224) 632-4500
                                  Facsimile: (224) 632-4521

                                  Attorneys for Plaintiffs

DATED: March 11, 2019

                                  /s/ Robert J. Palmersheim
                                  Robert J. Palmersheim, Esq.
                                  Anand C. Mathew, Esq.
                                  PALMERSHEIM & MATHEW LLP
                                  401 N. Franklin Street, Suite 4S
                                  Chicago, IL 60654
                                  Telephone: (312) 319-1791

                                  Attorneys for Defendant




                                         3
         [PROPOSED] STIPULATED ORDER RE: EXTENDING THE BRIEFING SCHEDULE
   Case: 1:18-cv-03550 Document #: 85-1 Filed: 03/11/19 Page 4 of 4 PageID #:506




      IT IS ORDERED that the foregoing stipulation is approved.

Dated: _____________, 2019

                                                ___________________________
                                                HON. EDMOND E. CHANG
                                                United States District Judge




                                            4
          [PROPOSED] STIPULATED ORDER RE: EXTENDING THE BRIEFING SCHEDULE
